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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

DONNA CURLING, et al.,                  :
                                        :
                                        :
       Plaintiffs,                      :
                                        :
v.                                      :        CIVIL ACTION NO.
                                        :        1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,             :
                                        :
                                        :
       Defendants.                      :

                                    ORDER

      This matter is before the Court on a discovery dispute regarding the State

Defendants’ objections to the Coalition Plaintiffs’ Fourth Request for Production

of Documents. The Court resolves the disputes regarding RPD No. 2 and RPD No.

3 as follows:

      RPD No. 2

      “All documents (a) relating to Dominion Voting System vote mark
threshold setting standards adopted by any other state, or adopted or
recommended by any government agency; (b) constituting or reflecting
communications about said threshold settings with (i) county officials in Athens-
Clarke, Morgan or Fulton Counties or (ii) Dominion Voting Systems.”

      The Coalition Plaintiffs’ First Supplemental Complaint challenges the

reliability of the “BMD System” to accurately count ballots. HB 316, codified at

O.C.G.A. § 21-2-300(a)(2), mandates the use of a uniform statewide voting system

that provides for:
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      the use of scanning ballots marked by electronic ballot markers and
      tabulated by using ballot scanners for voting at the polls and for
      absentee ballots cast in person, unless otherwise authorized by law;
      provided, however, that such electronic ballot markers shall produce
      paper ballots which are marked with the elector’s choices in a format
      readable by the elector.

O.C.G.A. § 21–2–300(a)(2). (See also Coalition Pls.’ Compl. ¶ 3.) Thus, as defined

by the Georgia election code, the BMD system includes the use of ballot scanners.

The functionality and reliability of the scanners is relevant to both the Plaintiffs’

requested relief in connection with their First Supplemental Complaint and related

Equal Protection claims. Specifically, the information requested bears on the

ability of the State to properly and consistently tabulate provisional paper ballots

at the precinct or county level in the event of systematic failures of the BMDs, if

multiple BMDs in a precinct are down or emergency measures are necessary due

to long lines.

      Therefore, RPD No. 2 of the Coalition Plaintiffs’ Fourth Request for

Production of Documents is relevant and Plaintiffs are entitled to some discovery

regarding the efficacy of the ballot scanners for use with hand marked provisional

or absentee paper ballots. That said, the request is overly broad and burdensome

to the extent it seeks documents from the Secretary of State regarding “vote mark

threshold setting standards adopted by any other state, or adopted or

recommended by any government agency” as requested by Coalition Plaintiffs in

subsection (a). To the extent this information already exists and is in the actual

possession of the Secretary of State or Dominion Voting Systems, Defendants are



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DIRECTED to produce such documents. With respect to subsection (b) of the

request, Defendants are ORDERED               to produce documents reflecting

communications between the Secretary of State about vote mark threshold settings

and standards with county officials in Athens-Clarke, Morgan and Fulton Counties,

and between the Secretary of State and Dominion Voting Systems.

      RPD No. 3

     “Communications with county election officials and vendors concerning
how the Dominion Voting System can or should be used to protect ballot secrecy
and voter privacy.”

      The Coalition Plaintiffs’ allegations regarding ballot secrecy are not limited

to their dismissed procedural due process claim in Count III.

      Coalition Plaintiffs contend that: (1) the ballot scanners record a timestamp

on the electronic record when a ballot is scanned, (2) the timestamp is linked to

the Cast Vote Record by the scanner, and (3) anyone with access to the timestamps

can compare them to other information recorded about voters at the polling place

to determine which timestamped ballot corresponds to a particular voter.

(Coalition Pls.’ First Suppl. Compl. ¶¶ 121-25.) Coalition Plaintiffs allege that the

potential exposure of the voter’s choices and “traceability of ballot cards due to

scanner timestamps will expose voters to coercion and retaliation,” which burdens

their fundamental right to freely vote their conscience in violation of the First and

Fourteenth Amendment as plead in Count I of the First Supplemental Complaint.

(Id. ¶¶ 127, 223.)




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       RPD No. 3 of the Coalition Plaintiffs’ Fourth Request for Production of

Documents is relevant to their claim in Count I of the First Supplemental

Complaint asserting a burden on their Fundamental Right to Vote. However, as

worded, the request is overly broad and could be read to include documents that

relate to secrecy and privacy concerns that are not expressly at issue in the

complaint.1       Accordingly, the Court ORDERS Defendants to produce

communications with county election officials and Dominion regarding

instructions and measures to prevent identifying voters based on the

timestamp associated with their cast vote records, including but not limited to

measures to disable the timestamping capability of the ballot scanners.

       Defendants shall produce documents responsive to RPD No. 2 and RPD No.

3 in accordance with the deadline set in the Court’s August 11th Order granting

Plaintiffs’ Motions for expedited discovery.

       IT IS SO ORDERED this 21st day of August, 2020.



                                            _____________________________
                                            Amy Totenberg
                                            United States District Judge




1For example, the press has reported concerns about the ability of pollworkers and other voters
to view a voter’s ballot selections due to the size of the BMD touchscreens – concerns which are
not challenged by the Coalition Plaintiffs in this lawsuit.

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